 Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 1 of 15 PageID #: 1



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     Attorneys for Plaintiff Mitek Systems, Inc.
 9
10                       UNITED STATES DISTRICT COURT
11                     NORTHERN DISTRICT OF CALIFORNIA
12
13   Mitek Systems, Inc.,                       Case No. _________________

14                   Plaintiff,                 COMPLAINT FOR
                                                DECLARATORY JUDGMENT
15         vs.
                                                JURY TRIAL DEMANDED
16   United Services Automobile
     Association,                               Date:     November 1, 2019
17
                     Defendant.
18
19
20         Plaintiff Mitek Systems, Inc. (“Mitek” or “Plaintiff”), for its Complaint against

21   Defendant United Services Automobile Association (“USAA” or “Defendant”),

22   hereby alleges as follows:

23                                NATURE OF THE ACTION

24         1.    This is a declaratory judgment action arising under the patent laws of

25   the United States, Title 35 of the United States Code.          This action seeks a

26   determination that Mitek does not infringe any valid or enforceable claim of United

27   States Patent Nos. 8,699,779 (“the ’779 Patent”); 9,336,517 (“the ’517 Patent”);

28
                                                    COMPLAINT FOR DECLARATORY JUDGMENT
 Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 2 of 15 PageID #: 2



 1   9,818,090 (“the ’090 Patent”); and 8,977,571 (“the ’571 patent”) (collectively, “the
 2   Patents-in-Suit”).
 3         2.     USAA’s patent enforcement and litigation campaign has placed a cloud
 4   over Mitek’s products and services; has accused Mitek and Mitek’s customers of
 5   infringing the Patents-in-Suit; and has created a justiciable controversy between
 6   Mitek and USAA.
 7                                     THE PARTIES
 8         3.     Plaintiff Mitek is a Delaware corporation, having its international
 9   headquarters and principal place of business at 660 B Street, Suite 100, San Diego,
10   CA 92101. Part of Mitek’s business includes licensing a remote image capture SDK
11   called MiSnap™ (part of Mitek’s Mobile Deposit® product offering) to financial
12   institutions for incorporation within their mobile banking applications.
13         4.     On information and belief, Defendant USAA is a reciprocal inter-
14   insurance exchange and unincorporated association organized under the laws of the
15   State of Texas having its principal place of business at 9800 Fredericksburg Road,
16   San Antonio, Texas 78288. USAA regularly conducts business throughout the
17   United States including within this District.
18                             JURISDICTION AND VENUE
19         5.     This civil action arises under the Declaratory Judgment Act, 28 U.S.C.
20   §§ 2201 and 2202, and the patent laws of the United States, 35 U.S.C. § 1 et seq.
21         6.     This Court has jurisdiction over the subject matter of this action
22   pursuant to 28 U.S.C. §§ 1331, 1338(a), 2201 and 2202.
23         7.     This Court has general and specific personal jurisdiction over USAA.
24         8.     Starting in early 2017, USAA launched an aggressive patent licensing
25   and enforcement campaign relating to the Patents-in-Suit targeting California
26   financial institutions. On information and belief, sometime in 2017, USAA retained
27   a law firm, Epicenter Law, PC (“Epicenter”), which is based in the San Francisco
28   Bay Area within this District, to conduct this extensive campaign. On information
                                           -2-       COMPLAINT FOR DECLARATORY JUDGMENT
 Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 3 of 15 PageID #: 3



 1   and belief, Epicenter, on behalf of USAA, sent over 1,000 patent licensing demand
 2   letters to financial intuitions across the country, most of which are Mitek customers.
 3   These letters explained that “USAA has asked Epicenter Law to approach financial
 4   institutions to offer a license, on reasonable terms, as fair compensation for the
 5   continued use of this patent-protected innovation.” Ex. A. On information and
 6   belief, at least some of these letters included one or more “claim charts” detailing
 7   Mitek’s customers’ infringement of one or more of the Patents-in-Suit as well as a
 8   “Patent List” identifying one or more of the Patents-in-Suit. Id.
 9         9.     USAA intentionally and purposefully directed patent enforcement
10   activities relating to the Patents-in-Suit into California and this District. For example,
11   on information and belief, USAA, through Epicenter, sent several of the
12   aforementioned letters to financial institutions within California and within this
13   District. For example, USAA sent a patent licensing demand letter to one of Mitek’s
14   largest customers, Wells Fargo Bank, in San Francisco, California.
15         10.    On information and belief, USAA, through Epicenter, also initiated
16   numerous telephone calls and in-person meetings with financial institutions within
17   California and within this District seeking to enforce the Patents-in-Suit. As just one
18   example, in May and June of 2018, representatives of Epicenter held in-person
19   meetings with representatives of Wells Fargo Bank in San Francisco, California
20   relating to USAA’s patent licensing campaign and the Patents-in-Suit. During those
21   meetings, on information and belief, USAA, through Epicenter, discussed the
22   infringement of the Patents-in-Suit and provided claim charts describing the alleged
23   infringement to the representatives of Wells Fargo Bank.
24         11.    In June 2018, USAA sued Wells Fargo Bank for patent infringement in
25   the Eastern District of Texas alleging infringement of the Patents-in-Suit based at
26   least in part on technology provided to Wells Fargo Bank by Mitek. In the First
27   Amended Complaint in that action, USAA specifically referenced Mitek’s
28   technology, including Mitek’s MiSnap™. Ex. B, “Amended Complaint,” USAA v.
                                             -3-      COMPLAINT FOR DECLARATORY JUDGMENT
 Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 4 of 15 PageID #: 4



 1   Wells Fargo Bank, No. 2:18-cv-00245-JRG (“Wells Fargo lawsuit”), Dkt. 54 ¶ 29
 2   (E.D. Tex. Nov. 28, 2018). According to the Amended Complaint, Wells Fargo Bank
 3   acknowledged that Mitek “provides its capture control software” that is accused, at
 4   least in part, of infringing the Patents-in-Suit. Id. at ¶ 36. Mitek’s software and
 5   technology is directly implicated in the alleged infringement.
 6           12.   In the Amended Complaint, USAA also implicitly accused Mitek of
 7   encouraging and contributing to the infringement of each of the Patents-in-Suit by
 8   supplying its MiSnap™ technology to financial institutions for incorporation within
 9   their mobile banking applications. On information and belief, in the Wells Fargo
10   lawsuit, USAA has accused Wells Fargo Bank of infringing each of the Patents-in-
11   Suit at least in part by virtue of Wells Fargo Bank’s use of Mitek’s software and
12   technology, including MiSnap™. USAA has also sought and received, in the Wells
13   Fargo lawsuit, documents and source code from Mitek and deposition testimony from
14   several Mitek witnesses regarding the operation of MiSnap™. On information and
15   belief, USAA is relying on these documents, source code, and deposition testimony
16   in order to show direct infringement of the Patents-in-Suit by Wells Fargo’s remote
17   deposit application that incorporates MiSnap™. On information and belief, USAA
18   also alleged in the Wells Fargo lawsuit that the accused Mitek technology being used
19   by Wells Fargo has no substantial non-infringing uses. Mitek therefore has a real
20   and substantial apprehension of imminent litigation between Mitek and USAA for
21   direct infringement, inducement, and contributory infringement of the Patents-in-
22   Suit.
23           13.   Mitek has various contractual relationships with its customers, including
24   OEM Agreements, relating to MiSnap™ and Mitek’s Mobile Deposit® product
25   offering. These agreements include indemnification provisions relating to actual or
26   alleged patent infringement by Mitek’s technology. In response to USAA’s massive
27   patent enforcement and letter writing campaign, Mitek has received demands for
28   indemnification from its customers and suppliers pursuant to these agreements. On
                                            -4-      COMPLAINT FOR DECLARATORY JUDGMENT
 Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 5 of 15 PageID #: 5



 1   information and belief, USAA sent its patent licensing demand letters to Mitek’s
 2   customers knowing that Mitek’s customers would forward those letters to Mitek and
 3   seek indemnification for infringement of the Patents-in-Suit.
 4         14.    USAA has initiated litigation with Mitek in the past, raising Mitek’s
 5   apprehension of imminent litigation surrounding the Patents-in-Suit. In 2012, USAA
 6   initiated a lawsuit against Mitek for trade secret misappropriation and declaratory
 7   judgment of non-infringement and invalidity of certain Mitek patents in the Western
 8   District of Texas, USAA v. Mitek Systems, Inc., No. 5:12-cv-00282-FB (W.D. Tex.).
 9   At least by conducting an aggressive and extensive patent licensing campaign
10   relating to the Patents-in-Suit, sending hundreds of patent licensing demand letters to
11   Mitek customers knowing those customers would forward the letters to Mitek and
12   seek indemnification, and initiating patent infringement litigation against a major
13   Mitek customer over technology provided to that customer by Mitek, there is a
14   substantial controversy between Mitek and USAA, who have adverse legal interests,
15   of sufficient immediacy and reality to warrant the issuance of a declaratory judgment.
16         15.    This court has general personal jurisdiction over USAA at least because
17   of USAA’s continuous and systematic contacts within this District, including
18   conducting substantial and regular business therein through its extensive property
19   and casualty insurance business conducted within this District, through its vast
20   network of ATMs within this District, and through its mail, internet, and mobile-
21   device based banking services carried out within this District.
22         16.    For example, on information and belief, USAA derives substantial
23   revenue from California residents and is licensed to conduct business and sell
24   property and casualty insurance, among other products, within California and this
25   District. On information and belief, USAA owns or operates several companies
26   licensed in California that conduct regular and systematic business within California
27   and this District, such as USAA Casualty Insurance Company, USAA General
28
                                           -5-      COMPLAINT FOR DECLARATORY JUDGMENT
 Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 6 of 15 PageID #: 6



 1   Indemnity Company, Garrison Property and Casualty Insurance Company, and
 2   USAA Financial Insurance Agency.
 3         17.     On information and belief, USAA owned and operated at least two
 4   places of business within California, a USAA Financial Center at 2431 Fenton
 5   Parkway in San Diego, California and a USAA Financial Center at 2178 Vista Way
 6   in Oceanside, California. On information and belief, these centers provide or
 7   provided face-to-face personal service to USAA customers residing in California.
 8         18.     USAA actively invests in many Bay Area companies and, on
 9   information and belief, retains an equity and/or controlling interest in these
10   companies. USAA’s investment portfolio includes significant equity and/or control
11   in at least Coinbase and Socotra, both headquartered in San Francisco, California.
12   USAA also conducts substantial and systematic business in California through its
13   limited partnerships with many California residents, including at least Commerce
14   Ventures, headquartered in San Francisco, California; InCube Ventures,
15   headquartered in San Jose, California; Montage Ventures, headquartered in Palo
16   Alto, California; and the Entrepreneurs’ Fund, headquartered in San Mateo,
17   California.
18         19.     USAA has intentionally invoked and purposefully availed itself to the
19   jurisdiction of California courts and voluntarily submitted to jurisdiction in
20   California on numerous occasions in the past. For example, USAA has initiated
21   claims against the United States of America and others using courts in California and
22   this District. See, e.g., USAA Casualty Insurance Company v. United States, Case
23   No. 3:2005-cv-01680 (N.D. Cal.); United Services Automobile Association v. Franke
24   Consumer Products, Inc., Case No. 5:11-cv-05430 (N.D. Cal.); USAA Investment
25   Management Company et al v. Henry et al., Case No. 5:18-00137 (N.D. Cal.); USAA
26   Casualty Insurance Company v. Broan-Nutone LLC, Case No. 2:18-cv-01656 (C.D.
27   Cal.); USAA Investment Management Company et al v. Hodges et al., Case No. 1:18-
28   cv-00605 (E.D. Cal.); USAA v. United States of America et al., Case No. 3:14-cv-
                                          -6-      COMPLAINT FOR DECLARATORY JUDGMENT
 Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 7 of 15 PageID #: 7



 1   01669-AJB-JMA (S.D. Cal.); USAA et al. v. United States of America et al., Case
 2   No. 3:15-cv-01144-AJB-KSC (S.D. Cal.); USAA et al. v. United States of America,
 3   Case No. 3:09-cv-01009-L-POR (S.D. Cal.); USAA et al. v. United States of America,
 4   Case No. 3:02-cv-02078-JM-POR; USAA et al. v. The United States Bureau of Land
 5   Management et al., Case No. 3:14-cv-01437-AJB-KSC (S.D. Cal.); USAA v. North
 6   American Van Lines, Inc. et al., Case No. 3:96-cv-00753-BTM-JFS (S.D. Cal.).
 7   USAA has also voluntarily consented to jurisdiction in California and this District.
 8   See, e.g., Sturm v. United Services Automobile Association et al., Case. No. 3:12-cv-
 9   01810 (N.D. Cal.); Langan v. United Services Automobile Association et al., Case
10   No. 3:13-cv-04994 (N.D. Cal.); Yue v. 21st Century Insurance et al., Case No. 5:10-
11   cv-03634 (N.D. Cal.); Hudson et al v. USAA Property and Casualty Insurance
12   Company et al., Case No. 3:11-cv-01057 (N.D. Cal.); Koepsell v. USAA, et al., Case
13   No. 2:11-cv-01772 (E.D. Cal.); Kane v. USAA et al., No. 3:17-cv-02581-JAH-AGS
14   (S.D. Cal.); Mattson v. USAA et al., Case No. 3:18-cv-00222-JM-KSC (S.D. Cal.);
15   Conover v. USAA Cas. Ins. Co. et al., Case No. 3:91-cv-01044-K-HRM (S.D. Cal.);
16   Bacino et al. v. USAA Cas. Ins. Co. et al., Case No. 3:08-cv-01239-DMS-RBB (S.D.
17   Cal.); Radcliffe v. USAA Cas. Ins. Co., Case No. 3:11-cv-00352-JM-BLM (S.D.
18   Cal.); Burns et al. v. USAA Cas. Ins. Co., Case No. 3:14-cv-02331-AJB-RBB (S.D.
19   Cal.); Braden v. USAA Cas. Ins. Co. et al., Case No. 3:15-cv-01707-JM-BLM (S.D.
20   Cal.); Lisicky et al. v. USAA Cas. Ins. Co. et al., Case No. 3:18-cv-01642-W-AGS
21   (S.D. Cal.); Brumfield, et al. v. USAA Cas. Ins. Co., Case No. 3:05-cv-02214-LAB-
22   NLS (S.D. Cal.); Deutz et al. v. USAA Cas. Ins. Co., Inc. et al., Case No. 3:16-cv-
23   02096-LAB-RNB (S.D. Cal.); LaVaut v. USAA Fed. Sav. Bank, et al., Case No. 3:01-
24   cv-02047-BTM-NLS (S.D. Cal.); Brewster v. USAA Fed. Sav. Bank et al., Case No.
25   3:10-cv-01633-JAH-BLM (S.D. Cal.); Gugger v. USAA Fed. Sav. Bank et al., Case
26   No. 3:17-cv-01518-AJB-AGS (S.D. Cal.); Small et al. v. Travelers Prop. Cas. Co. of
27   Am. et al., Case No. 3:08-cv-01160-BTM-WMC (S.D. Cal.); Earlywine v. USAA Life
28   Ins. Co. et al., Case No. 3:17-cv-00328-CAB-NLS (S.D. Cal.).
                                          -7-      COMPLAINT FOR DECLARATORY JUDGMENT
 Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 8 of 15 PageID #: 8



 1           20.   Venue is proper in the Northern District of California pursuant to 28
 2   U.S.C. § 1391(b) and (c) at least because USAA regularly conducts business in this
 3   District, USAA is subject to personal jurisdiction in this District, and a substantial
 4   part of the events giving rise to the claim occurred in this District.
 5                            INTRADISTRICT ASSIGNMENT
 6           21.   For purposes of intradistrict assignment under Civil Local Rules 3-2(c)
 7   and 3-5(b), this Intellectual Property Action will be assigned on a district-wide basis.
 8                                     PATENTS-IN-SUIT
 9           22.   The ’779 Patent is entitled “Systems and Methods for Alignment of
10   Check During Mobile Deposit,” and issued on April 15, 2014. A true and correct
11   copy of the ’779 Patent is attached hereto as Exhibit C.
12           23.   The ’517 Patent is entitled “Systems and Methods for Alignment of
13   Check During Mobile Deposit,” and issued on May 10, 2016. A true and correct
14   copy of the ’517 Patent is attached hereto as Exhibit D.
15           24.   The ’571 Patent is entitled “Systems and Methods for Image Monitoring
16   of Check During Mobile Deposit,” and issued on March 10, 2015. A true and correct
17   copy of the ’571 Patent is attached hereto as Exhibit E.
18           25.   The ’090 Patent is entitled “Systems and Methods for Image and
19   Criterion Monitoring During Mobile Deposit,” and issued on November 14, 2017. A
20   true and correct copy of the ’090 Patent is attached hereto as Exhibit F.
21           26.   USAA previously alleged in USAA v. Wells Fargo Bank, No. 2:16-cv-
22   245 (E.D. Tex.) that it is the assignee of all right, title, and interest in the Patents-in-
23   Suit.
24                        ACTS GIVING RISE TO THIS ACTION
25           27.   Plaintiff Mitek has been an innovator in mobile-imaging solutions that
26   use mobile phones for check deposit, bill payments, and identity verification. Mitek
27   launched its remote deposit product for mobile phones—Mobile Deposit®—at least
28   as early as January 2008.
                                              -8-      COMPLAINT FOR DECLARATORY JUDGMENT
 Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 9 of 15 PageID #: 9



 1         28.    Mitek has continued to innovate and improve its remote deposit
 2   solution. Mitek currently licenses MiSnap™, a patented mobile-capture SDK that
 3   enables an intuitive user experience and instant capture of quality images with a
 4   mobile or desktop device. The process of capturing and optimizing an image can be
 5   used to enable remote check deposit, verify a customer’s identity, increase
 6   transaction speed, improve image quality, and reduce abandonment rates. Mitek’s
 7   MiSnap™, after incorporated into a financial institution’s remote banking
 8   application, streamlines the user experience by enabling users to capture quality
 9   images of their checks (as well as other important documentation) the first time.
10         29.    Defendant USAA distributes remote deposit capture products, called
11   Deposit@Home® and Deposit@Mobile®, to its members. On information and
12   belief, USAA released its remote deposit product for mobile phones—
13   Deposit@Mobile®—in the spring or summer of 2009.
14         30.    On information and belief, USAA has accused Wells Fargo Bank of
15   infringing at least claim 1 of the ’779 Patent by virtue of Wells Fargo Bank’s use of
16   Mitek’s MiSnap™ and related remote deposit technology. On information and
17   belief, USAA has relied on certain MiSnap™ source code, documentation, and
18   deposition testimony from Mitek witnesses in order to show the alleged infringement
19   of at least claim 1 of the ’779 Patent. On information and belief, USAA alleges that
20   Wells Fargo Bank specifically encourages its customers to use the accused Mitek’s
21   MiSnap™ and related remote deposit technology in an infringing manner. On
22   information and belief, USAA also alleges that the accused Mitek’s MiSnap™ and
23   related remote deposit technology have no substantial non-infringing uses. Thus,
24   Mitek and all of its MiSnap™ customers are presently faced with a substantial risk
25   of litigation by USAA for allegedly infringing, either directly or indirectly, the ’779
26   Patent.
27         31.    On information and belief, USAA has accused Wells Fargo Bank of
28   infringing at least claim 1 of the ’517 Patent by virtue of Wells Fargo Bank’s use of
                                           -9-      COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 10 of 15 PageID #: 10



 1   Mitek’s MiSnap™ and related remote deposit technology. On information and
 2   belief, USAA has relied on certain MiSnap™ source code, documentation, and
 3   deposition testimony from Mitek witnesses in order to show the alleged infringement
 4   of at least claim 1 of the ’517 Patent. On information and belief, USAA alleges that
 5   Wells Fargo Bank specifically encourages its customers to use the accused Mitek’s
 6   MiSnap™ and related remote deposit technology in an infringing manner. On
 7   information and belief, USAA also alleges that the accused Mitek’s MiSnap™ and
 8   related remote deposit technology have no substantial non-infringing uses. Thus,
 9   Mitek and all of its MiSnap™ customers are presently faced with a substantial risk
10   of litigation by USAA for allegedly infringing, either directly or indirectly, the ’517
11   Patent.
12         32.    On information and belief, USAA has accused Wells Fargo Bank of
13   infringing at least claim 1 of the ’571 Patent by virtue of Wells Fargo Bank’s use of
14   Mitek’s MiSnap™ and related remote deposit technology. On information and
15   belief, USAA has relied on certain MiSnap™ source code, documentation, and
16   deposition testimony from Mitek witnesses in order to show the alleged infringement
17   of at least claim 1 of the ’571 Patent. On information and belief, USAA alleges that
18   Wells Fargo Bank specifically encourages its customers to use the accused Mitek’s
19   MiSnap™ and related remote deposit technology in an infringing manner. On
20   information and belief, USAA also alleges that the accused Mitek’s MiSnap™ and
21   related remote deposit technology have no substantial non-infringing uses. Thus,
22   Mitek and all of its MiSnap™ customers are presently faced with a substantial risk
23   of litigation by USAA for allegedly infringing, either directly or indirectly, the ’571
24   Patent.
25         33.    On information and belief, USAA has accused Wells Fargo Bank of
26   infringing at least claim 1 of the ’090 Patent by virtue of Wells Fargo Bank’s use of
27   Mitek’s MiSnap™ and related remote deposit technology. On information and
28   belief, USAA has relied on certain MiSnap™ source code, documentation, and
                                           - 10 -   COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 11 of 15 PageID #: 11



 1   deposition testimony from Mitek witnesses in order to show the alleged infringement
 2   of at least claim 1 of the ’090 Patent. On information and belief, USAA alleges that
 3   Wells Fargo Bank specifically encourages its customers to use the accused Mitek’s
 4   MiSnap™ and related remote deposit technology in an infringing manner. On
 5   information and belief, USAA also alleges that the accused Mitek’s MiSnap™ and
 6   related remote deposit technology have no substantial non-infringing uses. Thus,
 7   Mitek and all of its MiSnap™ customers are presently faced with a substantial risk
 8   of litigation by USAA for allegedly infringing, either directly or indirectly, the ’090
 9   Patent.
10         34.    Thus, as described above, Mitek and all of its MiSnap™ customers are
11   presently faced with a substantial risk of litigation by USAA for allegedly infringing
12   each of the Patents-in-Suit.
13                                          COUNT I
14             DECLARATORY JUDGMENT OF NON-INFRINGEMENT
15                              OF U.S. PATENT NO. 8,699,779
16         35.    Plaintiff realleges the foregoing paragraphs as if fully set forth herein.
17         36.    Mitek, through the manufacture, use, and/or sale of Mitek’s MiSnap™
18   and related remote deposit technology, has not and does not infringe, induce
19   infringement, or contribute to the infringement of any enforceable claim of the ’779
20   patent, either literally or under the doctrine of equivalents.
21         37.    Mitek’s customers’ use of Mitek’s MiSnap™ and related remote deposit
22   technology has not and does not infringe, induce infringement, or contribute to the
23   infringement of any enforceable claim of the ’779 patent, either literally or under the
24   doctrine of equivalents.
25         38.    For example, Mitek’s MiSnap™ and related remote deposit technology
26   do not infringe at least because they do not “determine whether the image of the
27   check aligns with the alignment guide” or “automatically capture the image of the
28   check when the image of the check is determined to align with the alignment guide,”
                                            - 11 -    COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 12 of 15 PageID #: 12



 1   as required by claims 1 and 10 of the ’779 patent. In addition, Mitek has never had
 2   any intent to cause its customers to infringe the ’779 patent.
 3         39.    As a result of the acts described in the preceding paragraphs, there exists
 4   a controversy of sufficient immediacy and reality to warrant the issuance of a
 5   declaratory judgment.
 6         40.    A judicial declaration is necessary and appropriate so that Mitek and its
 7   customers may ascertain their rights regarding the ’779 patent.
 8                                         COUNT II
 9            DECLARATORY JUDGMENT OF NON-INFRINGEMENT
10                              OF U.S. PATENT NO. 9,336,517
11         41.    Plaintiff realleges the foregoing paragraphs as if fully set forth herein.
12         42.    Mitek, through the manufacture, use, and/or sale of Mitek’s MiSnap™
13   and related remote deposit technology, has not and does not infringe, induce
14   infringement, or contribute to the infringement of any enforceable claim of the ’517
15   patent, either literally or under the doctrine of equivalents.
16         43.    Mitek’s customers’ use of Mitek’s MiSnap™ and related remote deposit
17   technology has not and does not infringe, induce infringement, or contribute to the
18   infringement of any enforceable claim of the ’517 patent, either literally or under the
19   doctrine of equivalents.
20         44.    For example, Mitek’s MiSnap™ and related remote deposit technology
21   do not infringe at least because they do not “determine whether the at least one feature
22   of the instrument aligns with the alignment guide” or “automatically capture
23   information of the instrument when the at least one feature aligns with the alignment
24   guide,” as required by claims 1 and 10 of the ’517 patent. In addition, Mitek has
25   never had any intent to cause its customers to infringe the ’517 patent.
26         45.    As a result of the acts described in the preceding paragraphs, there exists
27   a controversy of sufficient immediacy and reality to warrant the issuance of a
28   declaratory judgment.
                                            - 12 -    COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 13 of 15 PageID #: 13



 1         46.    A judicial declaration is necessary and appropriate so that Mitek and its
 2   customers may ascertain their rights regarding the ’517 patent.
 3                                         COUNT III
 4            DECLARATORY JUDGMENT OF NON-INFRINGEMENT
 5                              OF U.S. PATENT NO. 8,977,571
 6         47.    Plaintiff realleges the foregoing paragraphs as if fully set forth herein.
 7         48.    Mitek, through the manufacture, use, and/or sale of Mitek’s MiSnap™
 8   and related remote deposit technology, has not and does not infringe, induce
 9   infringement, or contribute to the infringement of any enforceable claim of the ’571
10   patent, either literally or under the doctrine of equivalents.
11         49.    Mitek’s customers’ use of Mitek’s MiSnap™ and related remote deposit
12   technology has not and does not infringe, induce infringement, or contribute to the
13   infringement of any enforceable claim of the ’571 patent, either literally or under the
14   doctrine of equivalents.
15         50.    For example, Mitek’s MiSnap™ and related remote deposit technology
16   do not infringe at least because they do not “capture the image of the check
17   [with/using] the camera when the image of the check [in the field of view] passes the
18   monitoring criterion,” as required by claims 1 and 9 of the ’571 patent. In addition,
19   Mitek has never had any intent to cause its customers to infringe the ’571 patent.
20         51.    As a result of the acts described in the preceding paragraphs, there exists
21   a controversy of sufficient immediacy and reality to warrant the issuance of a
22   declaratory judgment.
23         52.    A judicial declaration is necessary and appropriate so that Mitek and its
24   customers may ascertain their rights regarding the ’571 patent.
25                                         COUNT IV
26            DECLARATORY JUDGMENT OF NON-INFRINGEMENT
27                              OF U.S. PATENT NO. 9,818,090
28         53.    Plaintiff realleges the foregoing paragraphs as if fully set forth herein.
                                            - 13 -    COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 14 of 15 PageID #: 14



 1         54.    Mitek, through the manufacture, use, and/or sale of Mitek’s MiSnap™
 2   and related remote deposit technology, has not and does not infringe, induce
 3   infringement, or contribute to the infringement of any enforceable claim of the ’090
 4   patent, either literally or under the doctrine of equivalents.
 5         55.    Mitek’s customers’ use of Mitek’s MiSnap™ and related remote deposit
 6   technology has not and does not infringe, induce infringement, or contribute to the
 7   infringement of any enforceable claim of the ’090 patent, either literally or under the
 8   doctrine of equivalents.
 9         56.    For example, Mitek’s MiSnap™ and related remote deposit technology
10   do not infringe at least because they do not, “when the monitoring criterion is
11   determined to be satisfied, control[] the image capture device to capture an image
12   depicting the target document in the field of view of the image capture device,” as
13   required by claims 1 and 11 of the ’090 patent. In addition, Mitek has never had any
14   intent to cause its customers to infringe the ’090 patent.
15         57.    As a result of the acts described in the preceding paragraphs, there exists
16   a controversy of sufficient immediacy and reality to warrant the issuance of a
17   declaratory judgment.
18         58.    A judicial declaration is necessary and appropriate so that Mitek and its
19   customers may ascertain their rights regarding the ’090 patent.
20
21                                 PRAYER FOR RELIEF
22         WHEREFORE, Plaintiff prays for judgment as follows:
23         A.     That Mitek and its customers have not infringed, either directly or
24   indirectly, any valid and enforceable claim of the ’779 Patent through the
25   manufacture, use, and/or sale of Mitek’s products, software, or technology;
26         B.     That Mitek and its customers have not infringed, either directly or
27   indirectly, any valid and enforceable claim of the ’517 Patent through the
28   manufacture, use, and/or sale of Mitek’s products, software, or technology;
                                            - 14 -    COMPLAINT FOR DECLARATORY JUDGMENT
Case 2:20-cv-00115-JRG Document 1 Filed 11/01/19 Page 15 of 15 PageID #: 15



 1         C.     That Mitek and its customers have not infringed, either directly or
 2   indirectly, any valid and enforceable claim of the ’090 Patent through the
 3   manufacture, use, and/or sale of Mitek’s products, software, or technology;
 4         D.     That Mitek and its customers have not infringed, either directly or
 5   indirectly, any valid and enforceable claim of the ’571 Patent through the
 6   manufacture, use, and/or sale of Mitek’s products, software, or technology;
 7         E.     That Mitek is a prevailing party and that this is an exceptional case,
 8   awarding Mitek its costs, expenses, disbursements, and reasonable attorneys’ fees
 9   under 35 U.S.C. § 285, and all other applicable statutes, rules, and common law; and
10         F.     That Mitek be granted such other and further relief as the Court deems
11   just and proper.
12
                                     JURY DEMAND
13
14         Mitek hereby demands a jury trial on all issues and claims so triable.

15
16
17   DATED: November 1, 2019              QUINN EMANUEL URQUHART &
                                          SULLIVAN, LLP
18
19
                                          By /s/ Claude M. Stern
20                                           Claude M. Stern
                                             Brian E. Mack
21                                           Attorneys for Plaintiff Mitek Systems, Inc.
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                                          - 15 -   COMPLAINT FOR DECLARATORY JUDGMENT
